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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
              v.
ROBERT MENENDEZ, NADINE MENENDEZ,                               23-Cr-490 (SHS)
WAEL HANA, and FRED DAIBES,                                     ORDER
                           Defendants.


SIDNEY H. STEIN, U.S. District Judge.
    The Court will conduct a sealed, ex parte hearing pursuant to Section 4 of the
Classified Information Procedures Act on Thursday, March 28, 2024, at 11:30 a.m. in
Courtroom 23A.


Dated: New York, New York
       March 25, 2024

                                         SO ORDERED:




                                                    . Stein, U.S.D.J.
